      Case: 1:17-md-02804 Doc #: 1800 Filed: 07/02/19 1 of 1. PageID #: 52811




                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION OPIATE                    )    MDL 2804
LITIGATION                                             )
                                                       )    Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                              )    Judge Dan Aaron Polster
County of Carbon v.                                    )
                                                            REMAND ORDER
Purdue Pharma L.P., et al.,                            )
Case No. 19-op-45337                                   )
                                                       )
Delaware County, Pennsylvania v.                       )
Purdue Pharma L.P., et al.,                            )
Case No. 19-op-45285                                   )
                                                       )




        Upon consideration of the Removing Defendant’s Notice of Consent to Remand, it is

hereby ORDERED that the actions entitled County of Carbon v. Purdue Pharma L.P., et al.,

Case No. 19-op-45337, Doc #: 54 (E.D. Pa.) and Delaware County, Pennsylvania v. Purdue

Pharma L.P., et al., Case No. 19-op-45285, Doc #: 60 (E.D. Pa.) are REMANDED to the Court

of Common Pleas of Delaware County, Pennsylvania.1

                 IT IS SO ORDERED.



                                                           /s/ Dan Aaron Polster July 2, 2019
                                                           DAN AARON POLSTER
                                                           UNITED STATES DISTRICT JUDGE




1
 These Notices are the only responses to the Scheduling Order, Doc #: 1708, the Court filed in Case No. 1:17-md-
2804 on June 20, 2019.
